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UNITED STATES DISTRICT COURT                                    ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
                                                                DOC#:
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UNITED STATES OF AMERICA,                                       DATE FILED: S ft?--7 l<:jf'

                 V.
                                                                  15-CR-317 (KMW)
DEAN SKELOS and ADAM SKELOS,                                    OPINION & ORDER

                                   Defendants.
--------------------------------------------------------X
KIMBA M. WOOD, United States District Judge:

        The Government has charged Defendants Adam Skelos and Dean Skelos with extortion in

violation of 18 U.S.C. §§ 1951-52, with honest services fraud in violation of 18 U.S.C. §§ 1343

and 1346, and with soliciting and accepting bribes and gratuities in violation of 18 U.S. C. §

666(a). Defendants have served subpoenas duces tecum on several non-parties, including the

New York State Department of Financial Services ("DFS"), Administrators for the Professions,

Inc. ("AFP"), Physicians Reciprocal Insurers ("PRI"), Anthony Bonomo, and Carl Bonomo

(collectively, the "PRI Parties"). The PRI Parties and the Government have moved to quash

these subpoenas. Defendants have also served subpoenas duces tecum on non-parties Charles

Dorego, Glenwood Management Corp. ("Glenwood"), and Steven Swarzman (collectively, the

"Glenwood Parties"). The Glenwood Parties and the Government have moved to quash these

subpoenas.

         For the reasons set forth below, the Court (i) GRANTS the Government's and the PRI

Parties' motions to quash the subpoenas served on the PRI Parties, and (ii) partially GRANTS

and partially DENIES the Government's and the Glenwood Parties' motions to quash the

subpoenas served on the Glenwood Parties as follows: (1) Requests 1, 2, 3, and 5 to Dorego, as

well as Request 1 to Glenwood, are NOT QUASHED, and Dorego and Glenwood shall produce

responsive documents to the Court on or before June 13, 2018; (2) Request to Dorego 4 is
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QUASHED; (3) Request to Dorego 6 and Request to Glenwood 3 are NOT QUASHED, and on

or before June 13, 2018, Dorego and Glenwood shall produce to Defendants and the Government

any documents responsive to these requests that they have not already produced to the

Government; (4) Request to Dorego 7 and Request to Glenwood 4 are NOT QUASHED, but are

modified as discussed below, and Dorego and Glenwood shall produce responsive documents to

Defendants and the Government on or before June 13, 2018; (5) Request to Glenwood 2 is

QUASHED; and (6) Request to Swarzman 3 is QUASHED.

I.     LEGAL ST AND ARD

       Rule of Criminal Procedure 17(c)(2) permits the court to quash a subpoena "if

compliance would be unreasonable or oppressive." Under United States v. Nixon, the party

requesting the subpoena has the burden of showing "( 1) that the documents are evidentiary and

relevant; (2) that they are not otherwise procurable reasonably in advance of trial by exercise of

due diligence; (3) that the party cannot properly prepare for trial without such production and

inspection in advance of trial and that the failure to obtain such inspection may tend

unreasonably to delay the trial; and (4) that the application is made in good faith and is not

intended as a general 'fishing expedition."' 418 U.S. 683, 699-700 (1974) (footnote omitted).

       Although the Nixon Court did not decide whether this four-part test applies to subpoenas

served on third-parties in particular, courts in the Second Circuit have almost unanimously

applied Nixon to subpoenas served on third-parties. See, e.g., United States v. Pena, No. 15-CR-

551 (AJN), 2016 WL 8735699 (S.D.N.Y. Feb. 12, 2016) (Nathan, J.) ("[T]he overwhelming

majority of district courts in the Second Circuit have applied the Nixon analysis" to "defense

subpoena requests to third parties."); United States v. Rivera, No. 13-CR-149 (KAM), 2015 WL

1540517, at *4 n.1 (E.D.N.Y. Apr. 7, 2015) ("This court agrees with the other district courts in

the Second Circuit that the Ntxon standard governs third-party subpoenas issued by the

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defense."). Only one decision-United States v. Tucker, 249 F.R.D. 58, 66 (S.D.N.Y. 2008)

(Scheindlin, J.), as amended (Feb. 20, 2008)-has suggested applying a different standard, and

that standard has generally been rejected. See United States v. Bergstein, 16-CR-746 (PKC),

2017 WL 6887596, at *4 (S.D.N.Y. Dec. 28, 2017) (Castel, J.) ('"[T]he overwhelming majority

of district courts in the Second Circuit have [instead] applied the Nixon analysis to such requests'

because the relaxed Tucker standard is not prevailing law of the Circuit.") (quoting Pena, 2016

WL 8735699, at *1); United States v. Barnes, 2008 WL 9359654, at *3 (S.D.N.Y. April 2, 2008)

(Robinson, J.) ("Though the Tucker Court found this relaxed standard appropriate, it is not the

prevailing law. Indeed, all district courts within the Second Circuit, aside from the Tucker court,

have applied the Nixon analysis to third-party subpoenas issued by the defense.").

       This Court applies the Nixon standard, pursuant to which a criminal subpoena should not

be used as "a discovery device," but instead should be used only as "a mechanism for obtaining

specific admissible evidence." Barnes, 2008 WL 9359654, at *4; accord United States v.

Cherry, 876 F. Supp. 547, 552 (S.D.N.Y. 1995) (Haight, J.) ("Rule 17(c) is not a method of

discovery in criminal cases.") The "materials [sought under Rule 17] must themselves be

admissible" at trial; it is not enough that they "contain information which could be admissible."

Cherry, 876 F. Supp. at 552. To that end, Rule l 7(c) subpoenas cannot be used to obtain

documents that would be excluded on hearsay grounds or would otherwise be "inadmissible as

evidence at trial." United States v. Brown, No. 95 CR. 168 (AGS), 1995 WL 387698, at *10

(S.D.N.Y. June 30, 1995) (Schwartz, J.). Documents bearing on a witness's decision to

"cooperate with the government" or any bias towards the defendant, however, can be proper

subjects of a Rule 17 (c) motion because those types of documents may themselves be admissible

into evidence. United States v. Orena, 883 F. Supp. 849, 869 (E.D.N.Y. 1995); United States v.

CaPollD, No. 10 CR 654 HB, 2012 WL 1195194, at *2 (S.D,N,Y, Apr, 9! 2012) (Baer, J.)

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(holding that evidence of "bias or a motive on the part of [the witness] to cooperate with the

government" is proper subject of Rule 17(c) subpoena). Similarly, documents containing prior

statements of a witness that are inconsistent with that witness's testimony at trial can be

admissible under Federal Rule of Evidence 613, and so can be the proper subject of a Rule 17(c)

subpoena.      United States v. Ferguson, No. 3:06-CR137(CFD), 2007 WL 4577303, at *3 (D.

Conn. Dec. 26, 2007) (holding that prior inconsistent statements of testifying witnesses are

"properly within the scope of [a] Rule l 7(c) subpoena").

           Evidence showing a witness's motive to cooperate, showing bias, or containing prior

inconsistent statements, however, does not become relevant until the witness testifies. For this

reason, many courts have held that production of impeaching evidence pursuant to Rule 17(c) is

not required until after the witness testifies.   United States v. Seabrook, No. 16-CR-467, 2017

WL 4838311, at *2 (S.D.N.Y. Oct. 23, 2017) (Carter, J.) ("[D]espite the fact that it is a virtual

certainty that [the witness] will testify in this matter, the weight of the authority in this Circuit

favors production when the witness testifies."); United States v. Giampa, No. S 92 CR. 437

(PKL), 1992 WL 296440, at *4 (S.D.N.Y. Oct. 7, 1992) (Leisure, J.) (modifying subpoenas for

impeachment materials "to make them returnable at the time when [the witness] testifies at

trial"). To avoid delay in trial, courts sometimes require production of impeaching material to

the court (but not to counsel), with the court reviewing these documents in camera and then

disclosing any admissible documents only after the witness testifies.      United States v.

Cuthbertson, 630 F.2d 139, 145 (3d Cir. 1980) (affirming decision of district court requiring

"pretrial production to the court" in order "to avoid unnecessary delay and disruption of the

trial").




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II.          DISCUSSION

             A.       Subpoenas Served on PRI Parties

             The PRI Parties and the Government have moved to quash subpoenas served on the PRI

Parties. (ECF Nos. 258,264,268, 269.) These subpoenas demand production of between eight

and thirteen categories of documents. (See Gov't PRI Mot., 1 Exs. A-E.) In their opposition

papers, however, Defendants have agreed to limit their demands "for the present purposes" to the

following four categories of documents relating to the current DFS investigation of PRI:

                  (1) documents that PRI, AFP, and the Bonomos have produced to DFS,

                  (2) transcripts of the depositions conducted by DFS, including the exhibits to
                  those depositions,

                  (3) the DFS "interrogatories" and the answers provided, and

                  (4) communications between DFS and the government.

(Defs.' PRI Opp'n, 2 at 8.)

             Although these demands are narrower than those Defendants originally made in their

subpoenas, they are still unreasonable under Rule l 7(c) and Nixon because they are not

sufficiently specific and request the production of documents that are either not admissible at trial

or are obtainable through other means. 3

                      1.      Request 1

             Defendants demand all "documents that PRI, AFP, and the Bonomos have produced to




      1   "Gov't PRI Mot." refers to the Government's letter motion to quash, dated March 2, 2018, ECF No. 258.
      2
          "Defs.' PRI Opp'n." refers to "Memorandum of Law in Opposition to Motions to Quash Subpoenas Served on
          DFS, AFP, PRI, Anthony Bonomo, and Carl Bonomo," ECF No. 273.
      3    DFS contends that Defendants' subpoenas should be quashed because they seek information protected from
          disclosure under New York Insurance Law§ 31 l(b) and by the law enforcement privilege. (DFS Mem., ECF
          No. 265, at 7-10.) Because Defendants' subpoenas are being quashed on other grounds, this Court does not
          rench the qUliBtion of wh1r!hvr the documents are privilee;ed.

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DFS" as part ofDFS's investigation into PRI. (Defs.' PRI Opp'n, at 8.) According to

Defendants, this DFS investigation "found that Bonomo cooked PRl's books 'and then tried to

cover it up."' (Id., at 1.) Defendants contend they are entitled to all of the documents that PRI,

AFI, and the Bonomos produced to DFS because, inter alia, they may show that "the

government's star witness, Anthony Bonomo, engaged in rampant fraud and other misconduct in

his management of PRI." (Id.)

       Although Defendants know that the documents they are seeking were produced by PRI,

AFP, and the Bonomos as part of the DFS investigation, they do not know the scope of that

investigation (or the volume of documents produced to DFS that are relevant to this case).

Because Defendants do not know the universe of documents they are requesting, they cannot

meet their burden of showing that these documents would be admissible at trial. See Brown,

1995 WL 387698, at *9. Defendants' requests are also far too broad, because they improperly

seek much ofDFS's investigative file.     United States v. Chen De Yian, No. 94-CR-719 (DLC),

1995 WL 614563, at *2 (S.D.N.Y. Oct. 19, 1995) (Cote, J.) (quashing Rule 17(c) subpoena

because "it called for the production of the entire investigative file and is accurately described as

a fishing expedition"); see also United States v. Sessa, No. 92-CR-351 (ARR), 2011 WL 256330,

at *53 (E.D.N.Y. Jan. 25, 2011) ("Courts within this Circuit have held that a Rule 17(c) subpoena

may not be used to obtain reports and investigative files from local law enforcement agencies in

advance of trial ... because such evidence is generally inadmissible at trial."), ajf d, 711 F.3d

316 (2d Cir. 2013).

        Defendants contend that their request is sufficiently specific because these documents

have already been produced to DFS, making it easy and inexpensive for the PRI Parties to locate

and produce them to Defendants. (Defs.' Opp'n, at 8, 27.) The fact that compliance with a

subpoeii~ i~ ~MY,   however, does not make it ~uftfoivntly 5p,~ific,   Subpoena requests must be


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focused on finding particular documents that are relevant and admissible. Although Defendants

have identified a group of documents that may be easy for the PRI Parties to produce,

Defendants' request is improper because investigative files often contain many documents that

are inadmissible on hearsay or other grounds. See, e.g., United States v. Boyle, No. 08 CR 523

(CM), 2009 WL 484436, at *2 (S.D.N.Y. Feb. 24, 2009) (McMahon, J.) (quashing subpoena for

investigative file as overbroad because although part of the investigative file "may be relevant to

the case at bar," the "the bulk of materials sought by defendant would be inadmissible").

        In an explanatory parenthetical, Defendants suggest that another court found a "subpoena

was 'sufficiently specified' because the recipient could 'easily' locate the evidence." (Defs.'

Opp'n, at 27 (quoting United States v. Holihan, 248 F. Supp. 2d 179, 188 (W.D.N.Y. 2003).)

This suggestion is misleading. Although Holihan did note that the documents at issue would be

easy to locate, the court nonetheless modified the subpoena because it was "overbroad."

Holihan, 428 F. Supp. at 188. If anything, Holihan undermines Defendants' position by

showing that even if a subpoena will result in the production of relevant, admissible, and easily

identifiable documents, it is still objectionable if the requests are broader than necessary to

accomplish that purpose. See id.

        Quoting another decision, Defendants claim that a subpoena request is "sufficiently

specific" if it "identifies 'a group of records likely to contain helpful documents."' (Defs.' PRI

Opp'n, at 27 (quoting United States v. Weisberg, No. 08-CR-347 (NGG) (RML), 2011 WL

1327689, at *7 (E.D.N.Y. Apr. 5, 2011).) The subpoena requests in Weisberg, however, were

much more specific than the requests at issue here. The defendant there sought, inter alia,

billing records, time entries, invoices, and related records drafted by specific people, for work

performed by specific individuals, and as limited by a specific time period. Id., at *6. The

specificity' 6f thege   requests allowed that court to determin~ that thQse documents would be

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relevant to the defense and would likely be admissible as business records. Id., at *7. Here, by

contrast, even if some of the documents Defendants are requesting may be relevant, the request is

not specific enough to permit this Court to assess admissibility. Indeed, Defendants' request is

more like the subpoena request in Weisberg that the court did quash. That subpoena request-

for all documents related to the escrow account from which the defendant was accused of

stealing-was quashed because it was "insufficiently focused on documents that will be relevant

to" the defense. See id., at *1-2, 6. Similarly, Defendants' request here for all documents

produced as part of a state agency's investigation into a non-party is insufficiently focused.

       The other decisions on which Defendants rely are similarly distinguishable because the

requests in those cases were far more specific than the request at issue here. (See Defs.' PRI

Opp'n, at 27 (citing United States v. Yudung Zhu, No. 13 CR. 761, 2014 WL 5366107 (S.D.N.Y.

Oct. 14, 2014) (Marrero, J.); United States v. Rajaratnam, 753 F. Supp. 2d 317 (S.D.N.Y. 2011)

(Holwell, J.); and United States v. McClure, No. CRIM.A. 10-028, 2010 WL 3523030 (E.D. La.

Sept. 1, 2010)).) The subpoenas found permissible in Yudung Zhu, in particular, sought a

"retrospective review" mandated by law, a response to that review from a government agency,

memoranda from a particular interview, and communications between two particular individuals

on a particular topic. 2014 WL 5366107, at *2-6. The subpoenas in Rajaratnam and McClure

were similarly specific, including requests for communications between specifically identified

individuals, requests for particular tax returns, and requests for records of complaints against a

particular police officer. 753 F. Supp. 2d at 322-33; 2010 WL 3523030, at* 1. Each of these

requests sought what the Yudong Zhu decision referred to as "a specific type of document."

2014 WL 5366107, at *6. By contrast, Defendants are not requesting documents of "a specific

type," but instead any and all documents produced to DFS, regardless of subject matter and

regardless   of whether they are financial records, phone records, invoices, insurance policies,

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emails, text messages, letters, or otherwise.

       Accordingly, with respect to Request 1, the PRI Parties' and Government's motions to

quash are GRANTED.

               2.      Request 2

       Defendants demand "transcripts of the depositions conducted by DFS, including the

exhibits to those depositions." (Defs.' PRI Opp'n, at 8.) Defendants have not explained how

these deposition transcripts-which consist entirely of out-of-court statements-could be

admissible at trial. For this reason, they are not appropriate requests under Rule 17(c). See

United States v. Boyle, No. 08 CR 523 (CM), 2009 WL 484436, at *2 (S.D.N.Y. Feb. 24, 2009)

(McMahon, J.) (quashing requests for "witness statements" and "audio recordings" because those

materials would "be inadmissible at defendant's trial on hearsay grounds"); United States v.

Jackson, No. 02 CR. 756 (LMM), 2006 WL 1993251, at *2 (S.D.N.Y. July 14, 2006) (McKenna,

J.) ("1be defendant has not shown how the subpoenaed telephone records, of their nature

hearsay, could be admissible, as required by Nixon."); Brown, 1995 WL 387698, at* 10

(quashing subpoena for memoranda of interviews because they would "be hearsay, and

inadmissible as evidence at trial"); Cherry, 876 F. Supp. at 552 (quashing requests for

"statements made by eyewitnesses" because documents containing those statements are

"inadmissible hearsay" and could not themselves "be introduced as evidence at trial").

       Furthermore, Defendants cannot meet their burden of showing why the bulk of these

transcripts would be relevant, given that Defendants do not identify any of these deponents other

than Anthony Bonomo. With respect to the transcripts of Bonomo's testimony, Defendants

contend that because they "know that Bonomo will testify" at trial, they should be permitted to

obtain his transcripts for impeachment purposes. (Defs.' PRI Opp'n, at 25.) The Government

hus represented, however, that it will produc~ th~~y deposition transcripts.   (DFS Mem., at 11;


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Gov't Reply, ECF No. 280, at 7.) For this reason, Rule 17(c) is not the proper method for

obtaining these materials; they should instead be disclosed by the Government in accordance

with its obligations under 18 U.S.C. § 3500; Brady v. Maryland, 373 U.S. 83 (1963); and Giglio

v. United States, 405 U.S. 150 (1972). See Nixon, 418 U.S. at 699 (requiring party seeking

documents pursuant to a Rule 17 subpoena to show that those documents "are not otherwise

procurable reasonably in advance of trial by exercise of due diligence").

       Accordingly, with respect to Request 2, the PRI Parties' and Government's motions to

quash are GRANTED.

               3.     Request 3

       Defendants request "the DFS 'interrogatories' and the answers provided." (Defs.' PRI

Opp'n, at 8.) Like the Defendants' request for all "documents produced to DFS," this request

lacks specificity. Defendants do not know the scope of the interrogatories DFS posed or the

answers the PRI Parties provided. And like Defendants' request for deposition transcripts, even

if some of the answers to DFS's interrogatories may be relevant, they are hearsay, and hence

their production is not appropriate pursuant to Rule l 7(c). See, e.g., Boyle, 2009 WL 484436, at

*2.

       Accordingly, with respect to Request 3, the PRI Parties' and the Government's motions to

quash are GRANTED.

               4.      Request 4

       Defendants request all "communications between DFS and the government." (Defs.'

PRI Opp'n, at 8.) It is unclear how these documents would be admissible at trial. Because DFS

is not a party to this case, any statements by DFS are hearsay. Although the Government is a

party to this case, out-of-court statements by Government agents are generally not admissible as

party admb~iorn undvr f;d~rnl RµJe of Evidence 801~d)\2).      See United States V. Ford, 435 F.3d


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204,215 (2d Cir. 2006) (excluding statement of Assistant United States Attorney on hearsay

grounds and noting that, for such statements to be admitted, they must be "the equivalent of

testimonial statements") (citation and internal quotation marks omitted); United States v. Yildiz,

355 F.3d 80, 82 (2d Cir. 2004) (excluding out-of-court statements of government informant

because they were not "sworn statements submitted to a judicial officer"); United States v.

Forbes, No. 3:02-CR-264 (AHN), 2007 WL 141952, at *8 (D. Conn. Jan. 17, 2007) (excluding

on hearsay grounds "unsworn, out-of-court statements of government attorneys contained in

letters written by prosecutors").

          Accordingly, with respect to Request 4, the PRI Parties' and Government's motions to

quash are GRANTED.

          B.      Subpoenas Served on Glenwood Parties

          The Glenwood Parties and the Government have moved to quash subpoenas served on the

Glenwood Parties. (ECF Nos. 276, 278, 289, 291.) These subpoenas contain sixteen requests.

(See Gov't Glenwood Mot., 4 Exs. A-C.) The parties agree that four of these requests-

Requests to Swarzman 1, 2, 4, and 5-are moot. (ECF No. 313, at 2.) For this reason, the

Court will rule on only Defendants' other twelve requests.

                  1.       Requests to Dorego 1, 2, 3 & 5; Request to Glenwood 1

          Requests to Dorego 1, 2, 3, and 5 and Request to Glenwood l concern payments that non-

party Dorego may have received from other non-parties. (See Gov't Glenwood Mot., Ex. A, at

5, Ex. B, at 5.) Defendants contend that these documents may show that Dorego-Glenwood's

general counsel and one of the Government's key witnesses-received illegal kickbacks from




   4
       "Gov't Glenwood Mot." refers to the Government's letter motion to quash, dated March 29, 2018, ECF No.
       176.


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Swarzman or others. In particular, although Dorego testified at the last trial that he received

money from Swarzman only for "some legal fees," Defendants point out that Government notes

taken during a conversation between Swarzman and the Government state, "Charlie D[ o ]rego got

money from title business - got from each deal."       (Trial Tr., at 700; ECF No. 301, Ex. B.)

These notes further state, "Hundreds of thousands of dollars paid to Charlie D[ o ]rego out of these

projects from Steven Swarzman," and so provide a basis for Defendants' claim that Dorego

received kickbacks from Swarzman.        (ECF No. 301, Ex. B.)

       Evidence concerning this potential kickback scheme is relevant and admissible to show

Dore go's motive to cooperate with the Government. See, e.g., Carollo, 2012 WL 1195194, at

*2 (denying in part motion to quash subpoena for evidence that "may suggest bias or motive ...

to cooperate with the government"). Although these subpoena requests also meet the specificity

requirement of Nixon (because they are for specific categories of documents concerning or

reflecting payments to Dorego from specifically identified individuals), they will not be

admissible until after Derego testifies. See Seabrook, 2017 WL 4838311, at *2. Dorego,

however, was a key witness at the first trial-testifying for three days-and the Government has

not denied that he will testify at the upcoming trial. It is likely, then, that the documents

Defendants are requesting will become admissible evidence. Although the Court could wait

until Dore go testifies to require production of these documents, doing so would risk delaying

trial. To mitigate the risk of any such a delay, Derego and Glenwood are ordered to produce

these documents to the Court, for in camera review, on or before June 13, 2018. If Dorego

testifies, the Court will release any relevant and admissible documents to Defendants and the

Government after his testimony.

         Accordingly, the Glenwood Parties' and the Government's motions to quash Requests to

Derego   1, 2, 3, ruid 5, and Request to Glenwood Lam DENIED,

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                  2.      Request to Dorego 4

          Request to Dorego 4 is for all "documents and communications concerning your purchase

of Cleanwater from Steven Swarzman including any consideration paid for this purchase."

(Gov't Glenwood Mot., Ex. A, at 5.) At the first trial, Dorego testified that Clean Water

Solutions (defined in Defendants' request as "Cleanwater") was a distributor for AbTech and was

owned by Swarzman. (Trial Tr., at 469.) In 2009, Dorego purchased Clean Water Solutions

from Swarzman. (Trial Tr., at 470.) Defendants contend that "if the past dealings between

Dorego and Swarzman are any guide, the 'sale' may well have been a sham transaction in which

Dorego paid no consideration, and Swarzman claimed fake losses in order to reap the tax

benefits." (Defs.' Glenwood Opp'n, 5 at 5.) Defendants' only basis for making this argument

appears to be Government notes from a conversation Swarzman had with the Government: "Sold

CWS because of losses and time - Charlie [Dorego] said it would be good vehicle to write off

losses." These notes do not show, however, that the sale of Clean Water Solutions was a sham

or otherwise was illegal. Without a further factual basis for this request, Defendants' request

appears to be the very sort of "fishing expedition" prohibited by Nixon. United States v. Barnes,

560 F. App'x 36, 40 (2d Cir. 2014) (summary order) (affirming order quashing subpoena because

moving party "proferr[ed] only speculation").

          Accordingly, Request to Dorego 4 is QUASHED.

                  3.      Request to Dorego 6 & Request to Glenwood 3

          Request to Dorego 6 and Request to Glenwood 3 demand documents and

communications concerning contact with Glenn Rink, Thomas Dwyer, Christopher McKenna,




   5   "Defs.' Glenwood Opp'n" refers to "Memorandum of Law in Opposition to Motions to Quash Subpoenas
       Served on Glvnwoo<J Mimapjement, Charles Dore~o, and Steven Swarzman," ECF No. 300.


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and/or Steven Swarzman "regarding Dean Skelos or Adam Skelos." (Gov't Glenwood Mot., Ex.

A, at 5, Ex. B, at 5.) Many of these communications have already been produced to the

Government. (ECF No. 313.) To the extent that there are responsive documents that have not

been produced to the Government, those documents should be produced, as discussed below.

          Documents concerning contact with Dorego, Dwyer, McKenna, and Swarzman, are

relevant because the Government contends that Defendants illegally pressured Dorego into

obtaining for Adam Skelos work selling title insurance, or "title work," from these individuals.

(Defs.' Glenwood Opp 'n, at 2-3 .) Whether Adam Skelos received this "title work" because

Defendants pressured Dorego (or instead for some other reason) is central to the defense.

Communications between Dorego and these individuals are therefore relevant and admissible to

establish, among other things, Dorego's state of mind when making these requests. Defendants'

requests are also sufficiently specific in that they are limited to communications to particular

individuals on a particular subject matter.

          Documents concerning contact with Glenn Rink 6 are relevant because Glenn Rink is the

founder of AbTech, the company that gave Adam Skelos a job after allegedly receiving pressure

from Defendants. (Defs.' Glenwood Opp'n, at 3.) They are admissible to show Dorego's and

Rink's states of mind and reasons for hiring Adam Skelos. The request meets the specificity

requirement of Nixon in that it specifies communications with a particular person on a particular

subject matter.

          Accordingly, the motions to quash Request to Dorego 6 and Request to Glenwood 3 are

DENIED. On or before June 13, 2018, Dorego and Glenwood shall produce to Defendants and




   6   The request for documents concerning contact with Glenn Rink, in particular, is contained in only Request to
       Dorego 6 (11.Ild not in R.vqu~~t w <;.ilenwood 3).


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the Government any documents responsive to these requests that they have not previously

produced to the Government.

               4.      Request to Dorego 7 & Request to Glenwood 4

       Request to Dorego 7 and Request to Glenwood 4 demand documents concerning any

ownership interest of Dorego, Glenwood, or Leonard Litwin in AbTech. Specifically, Request

to Dorego 7 is for "documents and communications concerning any ownership interest you

[Dorego] had or have in AbTech including the purchase or sale of such ownership"; and Request

to Glenwood 4 is for "documents and communications concerning any ownership interest

Glenwood and/or Litwin had or have in Abtech." Defendants contend that these documents are

relevant to show an alternative reason why Dorego would have wanted Ab Tech to hire Adam

Skelos. (Defs.' Glenwood Opp'n, at 18.) In particular, Defendants claim that if there are

documents showing that these individuals had an ownership interest in AbTech, those documents

would support the defense that Adam Skelos was hired on the merits rather than at the behest of

the Defendants. (Id.) Indeed, if such documents exist, they could undermine Dore go's trial

testimony. In particular, at the first trial, Dorego testified that he helped Adam Skelos obtain

employment at AbTech-and not Glenwood-because Dorego felt uncomfortable and wanted to

distance Glenwood from any favors given to Adam Skelos. (See, e.g., Trial Tr., at 466-67.)

Documents showing that Dorego or Glenwood owns AbTech, then, would cut against Dorego's

explanation for why he wanted to help Adam Skelos obtain employment there. Defendants

could rely on these documents to argue, for example, that if Dorego truly wanted to distance

himself and Glenwood from Adam Skelos, he would not have obtained employment for Adam

Skelos at a company owned by Glenwood. For this reason, these documents may be relevant

and admissible.

       Although Reque~t to Dorngo 7 tind R¥q~<r:;t to Glenwood 4 are fairly specific, they are

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broader than necessary. Defendants do not need all documents related to the ownership interest

these individuals may have had in AbTech, but instead only documents that show any such

interest these individuals had during the relevant time period. Derego Request 7 is therefore

modified to read, "documents and communications that show any ownership interest you had in

AbTech between 2010 and 2015, including the purchase or sale of such ownership." Glenwood

Request 4 is modified to read, "documents and communications that show any ownership interest

Glenwood and/or Litwin had in Abtech between 2010 and 2015."

       Accordingly, the Glenwood Parties' and the Government's motion to quash Request to

Dorego 7 and Request to Glenwood 4 are DENIED. Derego and Glenwood shall produce

documents responsive to the modified requests to Defendants and the Government on or before

June 13, 2018.

                 5.   Request to Glenwood 2

       Request to Glenwood 2 is for "documents and communications concerning any

contributions (political or otherwise) funded by Glenwood but made in the name of another

person or entity including but not limited to contributions made to the Pledge 2 Project through

the law firm of Marquart & Small LLP." (Gov't Glenwood Mot., Ex. B, at 5.) Defendants

claim that the purpose of this request is to obtain documents showing illegal "straw donations"

by Glenwood that Defendants desire to use during "cross-examination" and for "impeachment."

(Defs.' Glenwood Opp'n, at 19.) Because Glenwood is a corporation, the witness Defendants

presumably wish to impeach using these documents is Dorego, Glenwood's general counsel.

Defendants have not, however, provided a sufficient basis for concluding that Glenwood violated

campaign finance regulations or otherwise did anything dishonest. Nor have they provided

reason to believe Dorego was aware of any such conduct. For this reason, Defendants have not

met their burden of ~hawing thflt Glenwood lik,ly po~~¥~~y~ admissible evidence of an;v such

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conduct. Their request, instead, is for a "fishing expedition" prohibited by Nixon.

       Accordingly, because Defendants have not met their burden of showing that these

documents would be admissible at trial, Request to Glenwood 2 is QUASHED.

               6.     Request to Swarzman 3

       Request to Swarzman 3 is for "[t]he documents and communications concerning

transactions with Charles Dorego, Christopher McKenna, Thomas Dwyer, American Land

Abstract or American Land Services other than those provided in response to requests one or two

above." Requests to Swarzman 1 and 2-the "requests one or two" referenced in Request to

Swarzman 3-are respectively for documents and communications concerning certain payments

to Dorego and for documents concerning the sale of Clean Water Solutions to Dorego. Request

to Swarzman 3 therefore requests documents concerning transactions with Swarzman, Dorego,

McKenna, Dwyer, American Land Abstract, and American Land Services, other than

transactions where Swarzman made certain payments to Dorego and other than Swarzman's sale

of Clean Water Solutions to Dorego. Because these documents are not focused on Dore go's

alleged kickback scheme, it is unclear what relevance, if any, they would have to this case.

Request to Swarzman 3 is also far too broad, seeking all documents and communications

concerning transactions between individuals who frequently did business with each other. (See

Trial Tr., ~t 348 (testimony that American Land Abstract was Swarzman's company), 590

(testimony that Dwyer and Swarzman had a 'joint venture"), 610-11 (testimony that Dwyer and

McKenna are business partners), 850 (testimony that McKenna was the owner of American Land

Services).) Defendants' request, therefore, is not sufficiently focused on finding relevant and

admissible documents.

       Accordingly, Request to Swarzman 3 is QUASHED.




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       C.      Future Subpoenas

       The Government requests that it be put on notice of any future subpoenas. (Gov't

Glenwood Mot., at 5-6.) Defendants object to that request. (Defs.' Glenwood Opp'n, at 19-

22.) Many courts have permitted parties to submit Rule l 7(c) subpoena requests ex parte where

a reason existed for doing so. See, e.g., United States v. Wey, 252 F. Supp. 3d 237,254

(S.D.N.Y. 2017) (Nathan, J.) (noting that sufficiency of subpoenas was "determined in ex parte

proceedings"); United States v. Earls, No. 03 CR. 0364 (NRB), 2004 WL 350725, at *6

(S.D.N.Y. Feb. 25, 2004) (Buchwald, J.) (denying request to permit defendant to serve Rule

l 7(c) subpoenas without prior approval, because defendant "may apply for Rule l 7(c) subpoenas

on an ex parte basis"); United States v. Florack, 838 F. Supp. 77, 79 (W.D.N.Y. 1993) (holding

that Rule 17 subpoenas may be served ex parte to avoid disclosing trial strategy). For this

reason, the Court will not require Defendants to provide notice to the Government of all future

subpoena requests, including those they would seek to make ex parte. The Court will, however,

modify the procedure that Defendants have previously used to obtain subpoenas in this case. As

Defendants noted in their opposition papers, Defendants previously acted at the direction of

Chambers to have subpoenas signed by the Clerk of Court. (Defs.' Glenwood Opp'n at 20.) In

the future, however, the parties shall provide subpoena requests to Chambers for signature. The

Court is modifying its prior procedure only because trial is now set to start next month. The

modified procedure will allow the Court to resolve any issues with subpoena requests more

quickly, reducing any chance that trial will be delayed. To further reduce the risk that trial will

be delayed, unless a party has a compelling reason for proceeding ex parte with a subpoena

request, that party shall give notice of any subpoena request to all other parties.

       The Government also requests that any documents Defendants obtain under Rule 17 be

made available to the Government. (Gov't Gl~nwood Reply, ECF No. 305, at 7.)           The language


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of Rule 17 states that "the court may permit the parties" to inspect the production, and

Defendants have provided no compelling reason why the Court should prevent the Government

from receiving a copy of any third-party document productions. For this reason, the Court has

ordered Dorego and Glenwood to produce responsive documents to both Defendants and the

Government. Unless a compelling reason requires otherwise, documents produced under any

future Rule 17 subpoenas must be provided to counsel for all parties.

III.   CONCLUSION

       For the foregoing reasons, the PRI Parties' and Government's motions to quash the

subpoenas served on DFS, AFP, PRI, Anthony Bonomo, and Carl Bonomo, are GRANTED.

The subpoenas Defendants served on those parties are QUASHED.

       The Glenwood Parties' and the Government's motions to quash the subpoenas served on

Dorego, Glenwood, and Swarzman are partially GRANTED and partially DENIED: (1) Requests

to Dorego 1, 2, 3, and 5, as well as Request to Glenwood 1, are NOT QUASHED, and Dorego

and Glenwood shall produce responsive documents to the Court on or before June 13, 2018; (2)

Request to Dorego 4 is QUASHED; (3) Request to Dorego 6 and Request to Glenwood 3 are

NOT QUASHED, and on or before June 13, 2018, Dorego and Glenwood shall produce to

Defendants and the Government any documents responsive to these requests that they have not

previously produced to the Government; (4) Request to Dorego 7 and Request to Glenwood 4 are

NOT QUASHED, but are modified as discussed above, and Dorego and Glenwood shall produce

responsive documents to Defendants and the Government on or before June 13, 2018; (5)

Request to Glenwood 2 is QUASHED; (6) Request to Swarzman 3 is QUASHED. The parties

are ordered to submit any future 17(c) subpoenas to Chambers, with notice to the other parties

unless a compelling reason exists for proceeding ex parte.

       The Clerk of Court i5 dirnct~d to terminate the motions at ECF Nos. 258,264,268,269,

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276, 278, 289, and 291.

       SO ORDERED.

 Dated: New York, New York
        May 17, 2018                           (~/Yl--,~
                                                  KIMBA M. WOOD
                                               United States District Judge




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